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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  JAMES W. TURNEY-BOZELL,                              CIVIL ACTION

  Plaintiff,
                                                       COMPLAINT 1:19-cv-02571-TWP-MJD
  v.

  EQUIFAX INFORMATION SERVICES,                        JURY TRIAL DEMANDED
  LLC, JP MORGAN CHASE BANK, N.A,
  and OCWEN LOAN SERVICING, LLC,

  Defendants.

                                 FIRST AMENDED COMPLAINT

         NOW comes JAMES W. TURNEY-BOZELL (“Plaintiff”), by and through his attorneys,

 Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of EQUIFAX

 INFORMATION SERVICES, LLC (“Equifax”), JP MORGAN CHASE BANK, N.A (“Chase”),

 and OCWEN LOAN SERVICING, LLC (“Ocwen”), (collectively, “Defendants”), as follows:

                                       NATURE OF THE ACTION

       1. Plaintiff brings this action seeking redress for Defendants’ violations of the Fair Credit

 Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681 et seq.

                                      JURISDICTION AND VENUE

       2. This action arises under and is brought pursuant to the FCRA. Subject matter jurisdiction

 is conferred upon this Court by 15 U.S.C. §1681p, 28 U.S.C. §§1331 and 1337(a), as the action

 arises under the laws of the United States.

       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendants conduct business

 in the Southern District of Indiana, and a substantial portion of the events or omissions giving rise

 to the claims occurred within the Southern District of Indiana.


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    4. Joinder of Plaintiff’s claims against Defendants is proper under Fed. R. Civ. P. 20(a)(2) as

 the claims arise out of the same transaction, occurrence, or series of transactions or occurrences

 and common questions of law or fact will arise.

                                              PARTIES

    5. Plaintiff is a 56-year-old consumer residing in Carmel, Indiana, which lies within the

 Southern District of Indiana.

    6. Equifax is regularly engaged in the business of assembling, evaluating, and disbursing

 information concerning consumers for the purpose of furnishing consumer reports and credit files

 to third parties bearing on a consumer’s credit worthiness, credit standing, and credit capacity on

 a nationwide basis, including in the State of Illinois. Equifax’s registered agent is located at 1550

 Peachtree Street NW, Atlanta, Georgia.

    7. Chase provides home equity loans secured by junior liens and prime mortgage loans. Chase

 is a company organized under the laws of the State of New York, with its principal place of

 business located at 270 Park Avenue, New York, New York 10017. Chase regularly uses mail,

 telephone, and credit reporting for the principal purpose of collecting debts from consumers on a

 nationwide basis, including consumers in the State of Indiana. Furthermore, Chase is a furnisher

 of credit information to the major credit reporting agencies, including co-Defendant Equifax.

    8. Ocwen is a mortgage servicing company with its principal place of business located at 1661

 Worthington Road, Suite 100, West Palm Beach, Florida and its registered agent located at 1201

 Hays Street, Tallahassee, Florida. Ocwen is involved in the collection of debts owed to others and

 servicing mortgages across the country, including the state of Indiana. Ocwen is a furnisher of

 information to the major credit reporting agencies, including co-Defendant Equifax.

                                 FACTS SUPPORTING CAUSE OF ACTION



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     9. Several years ago, Plaintiff incurred various consumer debts with KeyBank, Litton

 Mortgage Service Center1, Chase, and OneMain (“subject accounts”).

     10. Plaintiff eventually paid-off every outstanding balance owed on the subject accounts.

     11. In early 2019, Plaintiff was looking to improve his credit, so he accessed his Equifax

 consumer report and noticed a wide-array of inaccuracies pertaining to the subject accounts.

     12. For example, in spite of the fact that the subject accounts were paid in full, Equifax was

 continuing to report monthly terms with a “Scheduled Payment Amount” that was greater than

 $0.00, the amount actually owed on the subject accounts.

     13. Consequently, on April 29, 2019, Plaintiff initiated a written credit dispute with Equifax.

 Specifically, Plaintiff requested that Equifax remove the erroneous credit reporting of the

 “Scheduled Payment Amounts” corresponding to the paid subject accounts.

     14. Plaintiff sent this dispute letter, along with her driver’s license and social security

 identification, to Equifax via certified U.S. mail.

     15. Upon information and belief, KeyBank, Ocwen, Chase, and OneMain received notice of

 Plaintiff’s dispute within five days of Plaintiff initiating the disputes with Equifax. See 15 U.S.

 Code §1681i(a)(2).

     16. On or about May 15, 2019, Equifax responded by failing to reasonably investigate

 Plaintiff’s credit dispute. Specifically, while Equifax correctly notated the subject accounts as

 “Closed,” along with a zero balance, Equifax continued to falsely report a scheduled payment

 amount on each of the subject accounts, as seen below:




 1
  Upon information, Litton Mortgage Service Center was subsequently acquired by Ocwen Loan
 Servicing, LLC.

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     17. Despite having actual knowledge that Plaintiff no longer had a monthly scheduled

 payment amount, as Plaintiff paid the subject accounts in full, as well as after receiving Plaintiff’s

 dispute, Defendants continued to incorrectly report the subject debt.

     18. Any reasonable investigation engaged in by Defendants would and should have revealed

 the inaccuracy of the information on Plaintiff’s credit report.

     19. The reporting of the KeyBank, Ocwen, Chase, and OneMain trade lines is patently

 inaccurate and materially misleading given the complete absence of any scheduled monthly

 payments between Plaintiff and these entities.

                IMPACT OF INACCURATE INFORMATION IN PLAINTIFF’S CREDIT FILE

     20. The erroneous reporting of the subject account paints a false and damaging image of

 Plaintiff. Specifically, the inaccurate reporting of the subject accounts has had a significant adverse

 impact on Plaintiff’s credit rating and creditworthiness because it misleads creditors into believing

 that Plaintiff has outstanding monthly payments impacting any ability to meet potential future

 obligations.

     21. The entire experience has imposed upon Plaintiff significant distrust, frustration, distress,

 and has rendered Plaintiff helpless as to his ability to regain a firm foothold on his creditworthiness,

 credit standing, and credit capacity.

     22. As a result of the conduct, actions, and inaction of Defendants, Plaintiff has suffered

 various types of damages as set forth herein, including specifically, the loss of credit opportunity,

 certified mail expenses, and other frustration and aggravation associated with writing dispute

 letters, time and money expended meeting with his attorneys, tracking the status of his disputes,

 monitoring his credit file, and mental and emotional pain and suffering.




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     23. Due to the conduct of Defendants, Plaintiff was forced to retain counsel to correct the

 inaccuracies in his Equifax credit files.

                  COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                     (AGAINST CHASE)
     24. Plaintiff restates and realleges paragraphs 1 through 23 as though fully set forth herein.

     25. Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(b) and (c).

     26. Chase is a “person” as defined by 15 U.S.C. §1681a(b).

     27. Chase is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a “financial

 institution” as defined by 15 U.S.C. §1681a(t).

     28. At all times relevant, the above mentioned credit reports were “consumer reports” as the

 term is defined by §1681a(d)(1).

     29. Chase violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an investigation with

 respect to the disputed information after receiving requests for an investigation from Equifax and

 Plaintiff.

     30. Chase violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all relevant information,

 provided by Equifax and Plaintiff pursuant to 15 U.S.C. §1681i(a)(2).

     31. Had Chase reviewed the information provided by Equifax and Plaintiff, it would have

 corrected the inaccurate representation as to monthly payments, and transmitted the correct

 information to Equifax. Instead, Chase wrongfully and erroneously confirmed its inaccurate

 reporting without conducting a reasonable investigation.

     32. Chase violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results of the

 investigation or reinvestigation of Plaintiff’s dispute with Equifax.




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    33. Chase violated 15 U.S.C. §1681s-2(b)(1)(C)-(D) by failing to report the results of its

 investigation or reinvestigation to Equifax after being put on notice and discovering inaccurate and

 misleading reporting with respect to the subject account.

    34. Chase violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to modify, delete, or permanently

 block the inaccurate information in Plaintiff’s Equifax credit files.

    35. Chase failed to conduct a reasonable investigation of its reporting of the subject account,

 record that the information was disputed, or delete the inaccurate information from Plaintiff’s

 Equifax credit files within 30 days of receiving notice of the disputes from Equifax under 15 U.S.C.

 §1681i(a)(1).

    36. Despite the blatantly obvious errors in Plaintiff’s Equifax credit files, and Plaintiff’s efforts

 to correct the errors, Chase did not correct the errors or trade line to report accurately. Instead,

 Chase wrongfully furnished and re-reported the inaccurate and misleading information after

 Plaintiff’s dispute to Equifax.

    37. A reasonable investigation by Chase would have confirmed the veracity of Plaintiff’s

 dispute, yet the inaccurate information remains in Plaintiff’s Equifax credit files.

    38. Had Chase taken steps to investigate Plaintiff’s valid disputes or Equifax’s requests for

 investigation, it would have permanently corrected the erroneous and misleading credit reporting.

    39. By deviating from the standards established by the debt collection industry and the FCRA,

 Chase acted with reckless and willful disregard for its duty as a furnisher to report accurate and

 complete consumer credit information to Equifax.

    WHEREFORE, Plaintiff, JAMES W. TURNEY-BOZELL, respectfully requests that this

 Honorable Court enter judgment in his favor as follows:

    a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;


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     b. An order directing Chase to immediately delete all of the inaccurate information from
        Plaintiff’s credit reports and credit files;

     c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
        underlying FCRA violations;

     d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA, pursuant
        to 15 U.S.C. §1681n;

     e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
        FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;

     f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C. §1681n
        and 15 U.S.C. §1681o; and

     g. Award any other relief as this Honorable Court deems just and appropriate.
                 COUNT II - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                     (AGAINST OCWEN)
     40. Plaintiff restates and realleges paragraphs 1 through 39 as though fully set forth herein.

     41. Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(b) and (c).

     42. Ocwen is a “person” as defined by 15 U.S.C. §1681a(b).

     43. Ocwen is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a “financial

 institution” as defined by 15 U.S.C. §1681a(t).

     44. At all times relevant, the above mentioned credit reports were “consumer reports” as the

 term is defined by §1681a(d)(1).

     45. Ocwen violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an investigation with

 respect to the disputed information after receiving requests for an investigation from Equifax and

 Plaintiff.

     46. Ocwen violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all relevant information,

 provided by Equifax and Plaintiff pursuant to 15 U.S.C. §1681i(a)(2).




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    47. Had Ocwen reviewed the information provided by Equifax and Plaintiff, it would have

 corrected the inaccurate representation as to monthly payments, and transmitted the correct

 information to Equifax. Instead, Ocwen wrongfully and erroneously confirmed its inaccurate

 reporting without conducting a reasonable investigation.

    48. Ocwen violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results of the

 investigation or reinvestigation of Plaintiff’s dispute with Equifax.

    49. Ocwen violated 15 U.S.C. §1681s-2(b)(1)(C)-(D) by failing to report the results of its

 investigation or reinvestigation to Equifax after being put on notice and discovering inaccurate and

 misleading reporting with respect to the subject account.

    50. Ocwen violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to modify, delete, or permanently

 block the inaccurate information in Plaintiff’s Equifax credit files.

    51. Ocwen failed to conduct a reasonable investigation of its reporting of the subject account,

 record that the information was disputed, or delete the inaccurate information from Plaintiff’s

 Equifax credit files within 30 days of receiving notice of the disputes from Equifax under 15 U.S.C.

 §1681i(a)(1).

    52. Despite the blatantly obvious errors in Plaintiff’s Equifax credit files, and Plaintiff’s efforts

 to correct the errors, Ocwen did not correct the errors or trade line to report accurately. Instead,

 Ocwen wrongfully furnished and re-reported the inaccurate and misleading information after

 Plaintiff’s dispute to Equifax.

    53. A reasonable investigation by Ocwen would have confirmed the veracity of Plaintiff’s

 dispute, yet the inaccurate information remains in Plaintiff’s Equifax credit files.

    54. Had Ocwen taken steps to investigate Plaintiff’s valid disputes or Equifax’s requests for

 investigation, it would have permanently corrected the erroneous and misleading credit reporting.



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     55. By deviating from the standards established by the debt collection industry and the FCRA,

  Ocwen acted with reckless and willful disregard for its duty as a furnisher to report accurate and

  complete consumer credit information to Equifax.

     56. As stated herein, Plaintiff has been harmed by Ocwen’s conduct.

     WHEREFORE, Plaintiff, JAMES W. TURNEY-BOZELL, respectfully requests that this

  Honorable Court enter judgment in his favor as follows:

     a. Declare that the practices complained of herein are unlawful and violate the
        aforementioned statute;

     b. An order directing Ocwen to immediately delete all of the inaccurate information from
        Plaintiff’s credit reports and credit files;

     c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
        underlying FCRA violations;

     d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA, pursuant
        to 15 U.S.C. §1681n;

     e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
        FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;

     f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C. §1681n
        and 15 U.S.C. §1681o; and

     g. Award any other relief as this Honorable Court deems just and appropriate.

                 COUNT III - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                     (AGAINST EQUIFAX)
     57. Plaintiff restates and realleges paragraphs 1 through 56 as though fully set forth herein.

     58. Equifax is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

     59. Equifax is a “consumer reporting agency that compiles and maintains files on consumers

  on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

     60. At all times relevant, the above-referenced credit reports were “consumer reports” as that

  term is defined by §1681a(d).

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     61. At all times relevant, Plaintiff is a “consumer” as the term is defined by 15 U.S.C.

  §1681a(c).

     62. The FCRA mandates that “[w]henever a consumer reporting agency prepares a consumer

  report it shall follow reasonable procedures to assure maximum possible accuracy of the

  information concerning the individual about whom the report relates.” 15 U.S.C. § 1681e(b).

     63. The FCRA requires that the credit reporting industry to implement procedures and systems

  to promote accurate credit reporting.

     64. If a consumer notifies a credit reporting agency of a dispute concerning the accuracy of

  any item of credit information, the FCRA requires the credit reporting agency to reinvestigate free

  of charge and record the current status of the disputed information, or delete the item within 30

  days of receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).

     65. Plaintiff provided Equifax with all relevant information in his April 29, 2019 request for

  investigation to reflect that he is no longer liable for the subject account, and thus, should not be

  responsible for a monthly scheduled payment amount.

     66. Equifax prepared Plaintiff’s credit reports containing inaccurate and materially misleading

  information by reporting the subject accounts with a scheduled payment amount, when in fact,

  Plaintiff was no longer obligated to pay on the subject account.

     67. Equifax violated 15 U.S.C. §1681e(b) by failing to establish or to follow reasonable

  procedures to assure maximum possible accuracy in preparation of the consumer reports it

  furnished and refurnished regarding Plaintiff. Upon information and belief, Equifax prepared

  patently false and materially misleading consumer reports concerning Plaintiff.




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      68. Equifax violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable investigation

  to determine whether the disputed information was accurate and to subsequently delete or correct

  the information in Plaintiff’s credit files.

      69. Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of Plaintiff’s

  dispute to KeyBank, Ocwen, Chase, and OneMain. Upon information and belief, Equifax also

  failed to include all relevant information as part of the notice to KeyBank, Ocwen, Chase, and

  OneMain regarding Plaintiff’s dispute that Equifax received from Plaintiff.

      70. Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all relevant

  information that it received from Plaintiff with regard to the subject account.

      71. Equifax violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the inaccurate

  information that was the subject of Plaintiff’s dispute.

      72. Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information without

  certification from KeyBank, Ocwen, Chase, and OneMain that the information was complete and

  accurate, and without sending notice of the re-reporting to Plaintiff.

      73. Equifax knew that the inaccurate reporting of the subject account in Plaintiff’s credit files

  under the KeyBank, Ocwen, Chase, and OneMain trade lines as having an erroneous monthly

  payment due would have a significant adverse impact on Plaintiff’s credit worthiness and his

  ability to receive financing.

      74. The FCRA requires that the credit reporting industry implement procedures and systems

  to promote accurate credit reporting.

      75. Despite actual knowledge that Plaintiff’s credit files contained erroneous information,

  Equifax readily sold Plaintiff’s inaccurate and misleading reports to one or more third parties,

  thereby misrepresenting material facts about Plaintiff and, ultimately, Plaintiff’s creditworthiness.



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     76. By deviating from the standards established by the credit reporting industry and the FCRA,

  Equifax acted with a reckless disregard for its duties to report accurate and complete consumer

  credit information.

     77. It is Equifax’s regular business practice to continually report disputed information without

  taking the required investigatory steps to meaningfully verify such information as accurate.

     78. Equifax’s perpetual non-compliance with the requirements of the FCRA is indicative of

  the reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s credit files and

  reporting his credit information accurately.

     79. Equifax has exhibited a pattern of refusing to correct errors in consumer credit files despite

  being on notice of patently false and materially misleading information contained in such files,

  ultimately valuing its own bottom line above its significant responsibility to report accurate data

  on consumers.

     80. As stated herein, Plaintiff has been harmed by Equifax’s conduct.

     WHEREFORE, Plaintiff, JAMES W. TURNEY-BOZELL, respectfully requests that this

  Honorable Court enter judgment in his favor as follows:

     a. Declare that the practices complained of herein are unlawful and violate the
        aforementioned statute;

     b. An order directing that Equifax immediately delete all of the inaccurate information from
        Plaintiff’s credit reports and credit files;

     c. Award Plaintiff actual damages, in an amount to be determined at trial, for the underlying
        FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;

     d. Award Plaintiff statutory damages of $1,000.00 for the underlying FCRA violations,
        pursuant to 15 U.S.C. §1681n;

     e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
        FCRA violations, pursuant to 15 U.S.C. §1681n;




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     f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C. § 1681n
        and 15 U.S.C. §1681o; and

     g. Award any other relief as this Honorable Court deems just and appropriate.

  Dated: August 29, 2019                              Respectfully submitted,

  s/ Nathan C. Volheim (Lead Attorney)                s/Taxiarchis Hatzidimitriadis
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